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SIGNAGE/STOREFRONT WORK EXHIBIT

An outline of allocated space for signage and scope of work for storefront is attached. The following is
a summary of what has generally been discussed and agreed to by Landlord and Tenant with regard to
attached diagram, subject to approval by Landlord of the final plans and specifications therefor:

- Demolition of existing Storefront Glazing System, Vestibule, Marquee, Marquee Signage, and
Projecting Illuminated Sign.

- Maximum height for new marquee & projecting sign to be aligned to bottom of 5th floor slab,
maximum projection 8’-0” from face of existing facade.

- Landlord agrees that Tenant’s standard Logo and Color Palette are acceptable. See page 2 of exhibit for
reference.

- Illuminated Signage on Interior and Exterior of the Premises including the Storefront Window,
Marquee and Marquee Signage, and Projecting Illuminated Signage.

- Digital Media acceptable in Storefront Windows, on Marquee, and on Projected Signage in accordance
with the lease.

- All signage subject to Zoning, DOB Code, and any applicable Landmark Preservation.




                                                       *Drawing not to scale.




                                                       5th Floor Slab



                                                       Existing Marquee and Projecting Signage to be
                                                       demolished. New Signage/Marquee to project maximum
                                                       8’-0” from existing facade. Digital Media and Illuminated
                                                       Signage acceptable. Maximum width to extend to lease
                                                       line, maximum height per building code and building
                                                       rules & regulations.


                                                       Existing Storefront & Entrance Vestibule to be
                                                       demolished. New storefront glazing to align with height
                                                       of neighboring facades (+/- 16’-0”). Digital Media and
                                                       Illuminated Signage acceptable in storefront windows,
 Jekyll and Hyde   Guitar   Guy’s American Kitchen
                   Center                              subject to content guidelines in lease.
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    Logo
    Logo shown above is for reference only. Logo application on building to be
    determined by design concept. Logo may appear in full form as shown above, guitar
    icon only, or text only. May also include several taglines and/or guitar pick icon.




                 Pantone 185C



                 Pantone Black 3C or similar*




    Brand Color
    Brand color shown is the standard color for Guitar Center Signage. This does not
    necessarily represent any or all structural elements, digital signage, lighting, and/or
    architectural elements that may also be a part of the signage design.

    *Exact Pantone Color to be determined during design phase
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